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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                               ORLANDO DIVISION

   DAVID CAICEDO, RAJIB
   CHOWDURY, and FLORIDA
   RISING TOGETHER, INC.,

          Plaintiffs,

   v.                                             Case No. 6:23-cv-02303-JSS-RMN

   RON DESANTIS, in his official and
   individual capacity as Governor of the State
   of Florida,

        Defendant.
  ________________________________/

                   GOVERNOR DESANTIS’S MOTION TO DISMISS
                          AMENDED COMPLAINT

         Governor DeSantis, in his official capacity as Governor of the State of Florida,

  moves to dismiss Plaintiffs’ Amended Complaint (DE 54) pursuant to Federal Rules

  of Civil Procedure 12(b)(1) and 12(b)(6) for lack of jurisdiction and failure to state a

  claim. In support, the Governor states:

                                       BACKGROUND

         On August 9, 2023, Governor Ron DeSantis issued Executive Order 23-160

  (“Executive Order”) suspending Monique Worrell as State Attorney for the Ninth

  Judicial Circuit for neglect of duty and incompetence. On November 30, 2023, two

  individual residents of Orlando, Florida, and one partisan advocacy group, filed this

  action for injunctive and declaratory relief alleging the Executive Order violated their
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  Fourteenth Amendment right to due process and First Amendment rights to free

  association and political expression. DE 1.

           Governor DeSantis moved to dismiss the initial Complaint for lack of standing

  and failure to state a claim. DE 29. After hearing argument and directing the parties

  to supplement their briefing, the Court dismissed the initial Complaint without

  prejudice for lack of standing (“Order”). DE 51.

                                        ARGUMENT

           Plaintiffs amended the initial Complaint to address the fatal flaws described in

  the Court’s Order. They have failed. Plaintiffs still cannot identify a legally cognizable

  interest in Ms. Worrell remaining in office or a particularized Article III injury from

  the suspension, the organizational plaintiff does not sufficiently allege diversion of

  resources, and the Amended Complaint again fails to state a claim under the First and

  Fourteenth Amendments. In addition, sovereign immunity bars Plaintiffs’ state law

  claims disguised as federal law claims, and qualified immunity bars Plaintiffs’ claims

  against the Governor in his individual capacity. 1 For each of those reasons, the Court

  should dismiss the Amended Complaint – this time, with prejudice.

      I.   Plaintiffs Lack Article III Standing.

           Federal courts resolve cases or controversies. Art. III, § 2, U.S. Const. “Absent

  a justiciable case or controversy between interested parties,” courts lack the “power to

  declare the law.” Wood v. Raffensperger, 981 F.3d 1307, 1313 (11th Cir. 2020) (quoting


  1
   Governor DeSantis also incorporates by reference his supplemental briefing addressing
  whether federal courts have the equitable power to reinstate suspended state officials. DE 49.
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  Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 94 (1998)). “To have a case or

  controversy, a litigant must establish that he has standing, which requires proof of

  three elements,” namely “(1) an injury in fact that (2) is fairly traceable to the

  challenged action of the defendant and (3) is likely to be redressed by a favorable

  decision.” Jacobson v. Fla. Sec’y of State, 974 F.3d 1236, 1245 (11th Cir. 2020) (internal

  quotations and citations omitted).

        1. The Individual Plaintiffs do not allege an Article III injury.

        To establish an injury in fact, plaintiffs must demonstrate that they suffered “an

  invasion of a legally protected interest which is (a) concrete and particularized; and (b)

  ‘actual or imminent, not conjectural or hypothetical.’” Lujan v. Defenders of Wildlife,

  504 U.S. 555, 560-61 (internal citations omitted). “No legally cognizable injury arises

  unless an interest is protected by statute or otherwise.” Cox Cable Commc’ns, Inc. v.

  United States, 992 F.2d 1178, 1182 (11th Cir. 1993). An injury is particularized when it

  “affect[s] the plaintiff in a personal and individual way.” Sierra v. City of Hallandale

  Beach, Fla., 996 F.3d 1110, 1113 (11th Cir. 2021) (quoting Lujan, 504 U.S. at 560). The

  Amended Complaint, like the initial Complaint, does not allege an Article III injury

  because it neither establishes that Plaintiffs suffered a legally cognizable injury, nor

  explains how their injuries were particularized to them.

               A. Legally cognizable injury

        The Court’s Order explained that the Complaint did not identify a legally

  cognizable injury twice over. First, Plaintiffs alleged that suspending Ms. Worrell

  “disenfranchised the voters who elected her,” “abrogated Plaintiffs’ associational and
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  expressional First Amendment rights,” and violated Plaintiffs’ substantive due process

  right to a fair election. Order at 5-6. But for this to be true, Plaintiffs would have to

  possess a right to see Ms. Worrell serve her entire term in office. The Court concluded

  that Plaintiffs had no such right. Id. at 6. Second, the Court determined that, to the

  extent Plaintiffs had any injuries, they were “largely derivative of Ms. Worrell’s own

  injury in being removed before the conclusion of her term for alleged partisan reasons.”

  Id. And it noted that “courts have routinely concluded ‘that a voter fails to present an

  injury-in-fact when the alleged harm is abstract and widely shared or is only derivative

  of a harm experienced by a candidate.’” Id. (quoting Wilding v. DNC Servs. Corp., No.

  16-61511-CIV, 2017 WL 6345492, at *5–6 (S.D. Fla. Aug. 25, 2017), aff’d and

  remanded, 941 F.3d 1116 (11th Cir. 2019) (collecting cases)). The Amended Complaint

  suffers from the same fatal flaws.

        In the voting context, “[t]he Supreme Court has long recognized that . . . voters

  who allege facts showing disadvantage to themselves as individuals have standing to

  sue as they have alleged a concrete and particularized injury.” Ga. Ass’n of Latino Elected

  Offs., Inc. (GALEO) v. Gwinnett Cnty. Bd. of Registration & Elections, 36 F.4th 1100, 1114

  (11th Cir. 2022) (quoting Gill v. Whitford, 585 U.S. 48, 65–66 (2018)) (internal

  quotations omitted). The Amended Complaint, however, does not allege that the

  Governor’s suspension of Ms. Worrell prevented Plaintiffs from voting for Ms.

  Worrell, expressing their support for her, or associating with Ms. Worrell or her

  supporters. In fact, Plaintiffs acknowledge that “David Caicedo and Rajib Chowdhury

  each cast their ballots in support of Worrell and her reforms,” Am. Compl. ¶ 4, and
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  “Florida Rising’s members include residents of Orange and Osceola counties who

  voted for Ms. Worrell during the November 2020 election,” id. ¶ 17. In addition, the

  Amended Complaint alleges that “[Plaintiffs Caicedo and Chowdhury] banded

  together with other voters to promote the candidate – here, Ms. Worrell – that best

  espoused their political views,” id. ¶ 85, and “engaged in political expression when

  they voted for Ms. Worrell . . . [to] send[] a message that they supported Ms. Worrell

  and reform of the criminal legal system in the Ninth Judicial Circuit,” id. ¶ 86. And it

  notes that “Florida Rising announced its endorsement on social media, encouraged

  supporters to vote for her, and began field work to support her candidacy.” Id. ¶ 32.

        Notwithstanding these admissions, the Amended Complaint alleges that

  suspending Ms. Worrell “deprived the Plaintiffs . . . of their fundamental right to an

  effective vote,” id. ¶ 112, “infringed on the right of voters to express their preferences

  and associate with one another in support of a candidate,” id. ¶ 1, and “undermined

  the fundamental fairness and integrity of the electoral process,” id. ¶ 111. But, again,

  for this to be true, Plaintiffs would have to possess a right to see their preferred

  candidate serve his or her entire term. Without such a right, the suspension would not

  harm Plaintiffs because they freely admit they voted for Ms. Worrell, expressed their

  support for her, and associated with others in doing so. Plaintiffs, however, cannot cite

  a single authority suggesting they have a legally protectable interest in Ms. Worrell

  remaining in office. In fact, as this Court recognized in its Order, they don’t. Order at

  7; see, e.g., McGraw v. Banko, No. 22-12987, 2023 WL 7039511, at *2 (11th Cir. Oct.

  26, 2023) (“Put differently, voters exercised their right to vote. But they elected
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  someone who another state official determined was ineligible to hold the position

  under state law. We cannot say that the Governor’s actions violated a clearly

  established constitutional right such that he may be held liable for damages.”).

         Moreover, Plaintiffs claim that “Governor DeSantis targeted Ms. Worrell for

  following through on the promises she had made to the voters who had elected her,”

  Am. Compl. ¶ 53, and “articulated pretextual reasons for setting aside the result of a

  fair and free election, an election overwhelmingly carried by Ms. Worrell,” id. ¶ 129,

  without “identify[ing] a single instance of abuse of prosecutorial discretion,

  malfeasance, or misconduct,” id. ¶ 65. But just like those in the initial Complaint, the

  Amended Complaint’s allegations are “derivative of Ms. Worrell’s own injury in being

  removed before the conclusion of her term for alleged partisan reasons.” Order at 6.

  And as the Court noted in the Order, voters do not allege an injury in fact when their

  injuries are derivative of their chosen candidate. See Wilding, 2017 WL 6345492, at *5–

  6. 2 Thus, the Amended Complaint still fails to allege a legally cognizable injury.

             B. Particularized injury

         The Court’s Order also found that the initial Complaint did not allege a

  particularized injury. In other words, it did not explain how suspending Ms. Worrell

  “affect[ed] [Plaintiffs] in a personal and individual way.” Sierra, 996 F.3d at 1113. The

  Court found that Plaintiffs’ allegations “d[id] not distinguish any injury [they] suffered

  from the nearly 400,000 individuals that voted for Ms. Worrell.” Order at 8. It


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   See also, e.g., Becker v. Fed. Election Comm’n, 230 F.3d 381, 390 (1st Cir. 2000); Gottlieb v. FEC,
  143 F.3d 618, 622 (D.C. Cir. 1998).
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  explained that “‘when the asserted harm is . . . shared in substantially equal measure

  by . . . a large class of citizens,’ it is not a particularized injury.” Wood, 981 F.3d at

  1315 (quoting Warth v. Seldin, 422 U.S. 490, 499 (1975)). Accordingly, the Court found

  that Plaintiffs must provide “[m]ore specific allegations related to [their] claimed

  injuries . . . to support their standing in this matter.” Order at 12.

         The Amended Complaint offers more allegations about Mr. Caicedo and Mr.

  Chowdhury. But those allegations come nowhere close to demonstrating a

  particularized injury. To be sure, they provide greater detail about Mr. Chowdury and

  Mr. Caicedo. For example, the Amended Complaint explains that “[t]hroughout Ms.

  Worrell’s campaign, Mr. Caicedo attended various rallies within the Orlando

  community,” Am. Comp. ¶ 34, while “Mr. Chowdhury spent significant time

  canvassing the Orlando community speaking with constituents about progressive

  platforms and candidates, including Ms. Worrell,” id. ¶ 37. It also notes that “Plaintiffs

  Caicedo and Chowdhury were among the Orange County residents who felt

  disenfranchised by Worrell’s suspension,” id. ¶ 85, and Mr. Chowdhury, in particular,

  “was deeply upset by Governor DeSantis’s suspension of Ms. Worrell,” id. ¶ 89.

         But the Amended Complaint again does not explain how the suspension

  affected Mr. Caicedo or Mr. Chowdhury differently than the other 400,000 residents

  who voted for Ms. Worrell. And a harm shared “in substantially equal measure by all

  or a large class of citizens . . . does not warrant exercise of jurisdiction.” Wilding, 2017

  WL 6345492, at *5 (quoting Warth, 422 U.S. at 499).



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        In addition, as discussed in Part II, the Amended Complaint alleges that

  Governor DeSantis “abrogated Plaintiffs’ associational and expressional First

  Amendment rights when he abused the suspension authority accorded to him under

  Florida law.” Am. Compl. ¶ 129 (emphasis added). In other words, Plaintiffs claim

  that Governor DeSantis’s alleged violation of the Florida Constitution caused them

  harm. And they insist the Governor’s actions “threaten[] the integrity of the state’s

  democratic system,” id. ¶ 112, and are “part of a pattern of conduct that has eroded

  the democratic process,” id. ¶ 115.

        But, as the Court noted when dismissing the Complaint, “[a]n injury to the right

  ‘to require that the government be administered according to the law’ is a generalized

  grievance.” Order at 9 (quoting Wood, 981 F.3d at 1314). “[A] generalized grievance,

  ‘no matter how sincere,’ cannot support standing.” Wood, 981 F.3d at 1314 Likewise,

  “the harm done to the general public by corruption of the political process is not a

  sufficiently concrete, personalized injury to establish standing.” Becker, 230 F.3d at

  389. Thus, for each of these reasons, the Amended Complaint again fails to allege a

  particularized injury.

     2. Plaintiff Florida Rising lacks both associational and organizational standing.

            A. Associational standing

        “To establish associational standing, an organization must prove that its

  members ‘would otherwise have standing to sue in their own right.’” Jacobson, 974

  F.3d at 1249 (quoting Friends of the Earth, Inc. v. Laidlaw Env’t Servs. (TOC), Inc., 528


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  U.S. 167, 181 (2000)). The organization must make “specific allegations establishing

  that at least one identified member had suffered or would suffer harm.” Summers v.

  Earth Island Inst., 555 U.S. 488, 498 (2009). The Eleventh Circuit has dismissed

  organizational plaintiffs that “fail[] to allege that a specific member will be injured.”

  Ga. Republican Party v. SEC, 888 F.3d 1198, 1203-44 (11th Cir. 2018) (“We did not

  relax the requirement that an organization name at least one member who can

  establish an actual or imminent injury.”).

        The Amended Complaint appears to allege that Florida Rising has associational

  standing on behalf its members, who are “residents of Orange and Osceola counties

  who voted for Ms. Worrell during the November 2020 election.” Am. Compl. ¶ 17.

  But Plaintiffs do not identify even one of those members. For that reason, Florida

  Rising lacks associational standing. See, e.g., Jacobson, 974 F.3d at 1249.

        The Court did not reach this issue in its Order. Instead, it found that Florida

  Rising did not have associational standing because its allegations were “insufficient to

  establish an injury in fact to confer standing” on behalf of its members. Order at 13.

  As discussed above, the Amended Complaint still fails to allege an injury in fact for all

  Plaintiffs. Recognizing this, Plaintiffs attempt to spend their way into standing for

  Florida Rising under a diversion of resources theory. But as the Supreme Court

  recently made clear, plaintiffs cannot manufacture standing in this way.

            B. Organizational standing

        Organizations can have standing “to sue on their own behalf for injuries they

  sustained.” Havens Realty Corp. v. Coleman, 455 U.S. 363, 379 n.19 (1982). To establish
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  this organizational standing, the entity must satisfy the same standards for injury in

  fact, causation, and redressability that apply to individuals. Id. at 378-79. In other

  words, organizations must allege that they suffer “actual present harm” or the “threat

  of imminent harm.” City of S. Miami v. Governor of Fla., 65 F.4th 631, 638 (11th Cir.

  2023). Such allegations typically rely on a diversion of resources theory. Jacobson, 974

  F.3d at 1249-50. Under this theory, an organization suffers actual harm “if the

  defendant’s illegal acts impair [the organization’s] ability to engage in its projects by

  forcing the organization to divert resources to counteract those illegal acts.” Id. at 1250

  (quoting Fla. State Conference of NAACP v. Browning, 522 F.3d 1153, 1165 (11th Cir.

  2008)).

         Plaintiffs allege Florida Rising has standing under this theory because it “spent

  time, funds, and effort on extensive campaigns, outreach programs and educational

  initiatives to counteract the community impact of the Governor’s suspension of Ms.

  Worrell.” Am. Compl. ¶ 13. Specifically, the Amended Complaint alleges that before

  the suspension, Florida Rising “spent at least 360 hours of staff time in combating and

  communicating about Governor DeSantis’s impending suspension of Ms. Worrell.”

  Id. ¶ 76. And “[w]ithin 24 hours of Worrell’s suspension, Florida Rising diverted all

  their resources to host a press conference for their members and the Orlando

  community,” id. ¶ 80, and “joined forces with other community groups to poll

  concerned citizens, asking questions such as, ‘How does this affect you?’ and ‘What

  should next steps be?’,” id. ¶ 78.


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         The Supreme Court, however, severely curtailed the scope of this theory in FDA

  v. Alliance for Hippocratic Medicine, 602 U.S. 367, 393-96 (2024). The Court

  distinguished Havens, which created the diversion of resources theory, to clarify that

  an organization does not create standing simply by “divert[ing] its resources in

  response to a defendant’s actions.” Alliance for Hippocratic Medicine, 602 U.S. at 395.

  Otherwise, “all the organizations in America would have standing to challenge almost

  every federal policy that they dislike, provided they spend a single dollar opposing

  those policies.” Id. “Havens does not support such an expansive theory of standing.”

  Id.

         Instead, the Court explained that organizations have standing under a diversion

  of resources theory only if the defendant’s actions “directly affected and interfered with

  [their] core business activities – not dissimilar to a retailer who sues a manufacturer

  for selling defective goods to the retailer.” Id. Here, Plaintiffs do not allege a single fact

  suggesting that the Governor’s suspension interfered with Florida Rising’s core

  business activities. Rather, they attempt to “spend [their] way into standing simply by

  expending money to gather information and advocate against the [Governor’s]

  action.” Id. at 394. But as the Court made clear in Alliance for Hippocratic Medicine, “[a]n

  organization cannot manufacture its own standing in that way . . . no matter how

  longstanding the interest and no matter how qualified the organization.” Id. at 394

  (quoting Sierra Club v. Morton, 405 U.S. 727, 735 (1972)).

         Last, even under the case law preceding Alliance for Hippocratic Medicine,

  Plaintiff’s allegations would not give Florida Rising organizational standing because
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  they did not allege from where it diverted its resources. See GALEO, 36 F.4th at 1114

  (“[A]n organizational plaintiff must explain where it would have to ‘divert resources

  away from in order to spend additional resources on combating’ the effects of the

  defendant’s alleged conduct.”) (quoting Jacobson, 974 F.3d at 1250). Thus, under any

  diversion of resources theory, Florida Rising lack organizational standing.

   II.   Sovereign Immunity Bars Plaintiffs’ State Law Claims Disguised As Federal
         Law Claims.

         The Amended Complaint ostensibly asserts that the Executive Order violates

  the First and Fourteenth Amendments. Am. Compl. ¶¶ 107-131. Not only do these

  allegations fail to state a claim under those provisions (as discussed in Part III), but the

  gravamen of Plaintiffs’ claims is that the Executive Order is invalid because it violated

  the Governor’s suspension power under Article IV, section 7(a) of the Florida

  Constitution. Sovereign immunity precludes such state law claims dressed up as

  federal law claims.

         Ordinarily, a state may not be sued without its consent. Pennhurst State Sch. &

  Hosp. v. Halderman, 465 U.S. 89, 98 (1984). The Supreme Court has recognized a

  limited exception permitting suits that challenge the constitutionality of a state

  official’s action and seek prospective relief. Id. at 102–03 (citing Ex Parte Young, 209

  U.S. 123 (1908)).

         This Ex Parte Young exception does not, however, permit suits that challenge a

  state official’s non-compliance with state law. Id. at 106. Because suits attempting to

  compel state officials to comply with state law do not “vindicate the supreme authority

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  of federal law,” the “entire basis” for the Ex Parte Young exception “disappears.” Id.

  Indeed, “it is difficult to think of a greater intrusion on state sovereignty than when a

  federal court instructs state officials on how to conform their conduct to state law.” Id.

  This limitation on the Ex Parte Young exception is called the Pennhurst doctrine.

         Federal courts are vigilant to detect and thwart attempts to circumvent the

  Pennhurst doctrine. When a complaint attempts to disguise or repackage a violation of

  state law as a violation of federal law, the Pennhurst doctrine bars the claim. Balsam v.

  Sec’y of N.J., 607 F. App’x 177, 183 (3d Cir. 2015) (“Appellants’ attempt to tie their

  state law claims into their federal claims is unpersuasive.”); Massey v. Coon, 865 F.2d

  264, 1989 WL 884, at *2 (9th Cir. 1989) (unpublished table decision) (“Although on

  its face the complaint states a claim under the due process and equal protection clauses

  of the Constitution, these constitutional claims are entirely based on the failure of

  defendants to conform to state law.”). The gravamen of the claim, not its label,

  determines whether Pennhurst applies.

         For example, in S&M Brands, Inc. v. Georgia ex rel. Carr, 925 F.3d 1198 (11th Cir.

  2019), the plaintiff alleged that Georgia violated a state statute requiring the release of

  escrowed funds and that its refusal to release the funds constituted a taking under the

  Fifth Amendment and a violation of the First Amendment. Id. at 1205. The Eleventh

  Circuit looked to the “gravamen” of the plaintiff’s complaint, however, and

  determined that state law established the obligation to release funds and the amount

  to be released. Id. Because the “gravamen” of the claim was that “the State has


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  improperly interpreted and failed to adhere to a state statute,” the Pennhurst doctrine

  barred the claim. Id. (quoting DeKalb Cnty. Sch. Dist. v. Schrenko, 109 F.3d 680, 688

  (11th Cir. 1997)).

        The same is true here. Plaintiffs’ claims, although clothed in constitutional

  terms, allege violations of Florida law. Plaintiffs allege that the Governor “abrogated

  Plaintiffs’ associational and expressional First Amendment rights when he abused the

  suspension authority accorded to him under Florida law.” Am. Compl. ¶ 129

  (emphasis added). Specifically, Plaintiffs claim that, although the Executive Order

  “accused Ms. Worrell of ‘incompetence’ and ‘neglect of duty,’ it failed to identify a

  single instance of abuse of prosecutorial discretion, malfeasance, or misconduct.” Id.

  ¶ 65. Instead, they claim the Governor “articulat[ed] pretextual reasons for setting

  aside the results of a fair and free election,” id. ¶ 129, to conceal the fact that the

  Governor “suspended Ms. Worrell because of his hostility toward her ideologically

  different approach to enforcing the state’s criminal laws,” id. ¶ 9.

        As in S&M Brands, the Florida Constitution and Supreme Court establish the

  requirements for suspending state officials. See Art. IV, § 7, Fla. Const.; Warren v.

  DeSantis, 365 So. 3d 1137, 1139 (Fla. 2023) (“The [executive order’s] allegations need

  only ‘bear some reasonable relation to the charge made against the officer.’”) (quoting

  Israel v. DeSantis, 269 So. 3d 491, 495 (Fla. 2019)). While Plaintiffs invoke the First

  and Fourteenth Amendments, the gravamen of their claims allege violations of state

  law. Here, as in S&M Brands, “conclusory allegations that the same conduct that


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   violates state law also violates the U.S. Constitution will not boost the claim over the

   sovereign-immunity bar.” 925 F.3d at 1204. Thus, consistent with S&M Brands, this

   Court should guard against circumventions of Pennhurst, safeguard the limits that

   sovereign immunity places on this Court’s jurisdiction, and dismiss Plaintiffs’ de facto

   state law claims.

III.   The Amended Complaint Still Fails To State A Cause Of Action.

          The Court’s Order did not address the substance of the initial Complaint’s two

   counts for lack of jurisdiction. It need not do so here, either, for the same reasons. But

   if the Court finds standing and determines that the Amended Complaint alleges federal

   law – rather than state law – violations, the Amended Complaint must still be

   dismissed because its two counts again fail to state a claim under the First and

   Fourteenth Amendments.

       1. Substantive due process does not prohibit suspending state officials under state
          law.

          The Due Process Clause of the Fourteenth Amendment provides that no state

   shall “deprive any person of life, liberty, or property, without due process of law.”

   Amend. XIV, § 1, U.S. Const. The Supreme Court has explained that the provision

   guarantees both procedural and substantive due process. Eknes-Tucker v. Governor of

   Alabama, 80 F.4th 1205, 1219 (11th Cir. 2023). The latter component protects rights

   that “are fundamental, that is, rights that are implicit in the concept of ordered liberty.”

   McKinney v. Pate, 20 F.3d 1550, 1556 (11th Cir. 1994) (quotations omitted). Thus, to

   determine whether a right at issue is one of the substantive rights guaranteed by the

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  Due Process Clause, courts look to “whether the right is ‘deeply rooted in [our] history

  and tradition’ and ‘essential to this Nation’s scheme of ordered liberty.’” Dobbs v.

  Jackson Women’s Health Org., 597 U.S. 215, 216 (2022) (quoting Timbs v. Indiana, 586

  U.S. 146, 150 (2019)).

         Plaintiffs allege that Governor DeSantis, by suspending Ms. Worrell for what

  they feel are “pretextual” reasons, “negated the will of the electorate” that selected Ms.

  Worrell as the State Attorney for the Ninth Judicial Circuit. Am. Compl. ¶ 114 (“The

  Governor’s words, including his stated explanation for suspending Ms. Worrell, and

  his actions . . . demonstrate that he intended to negate the will of the electorate.”).

  They claim his “intentional nullification of election results has undermined the

  fundamental fairness and integrity of the electoral process,” id. ¶ 111 and “threatens

  the integrity of the state’s democratic system,” id. ¶ 112; see also ¶ 113 (“Removing an

  elected prosecutor for political reasons poses an especially acute threat to Florida’s

  democratic practices.”).

         Plaintiffs insist that the Governor’s “nullification” of the 2020 election violated

  the Fourteenth Amendment because “[a] substantive due process violation occurs

  when persons acting under color of state law seriously undermine the fundamental

  fairness and integrity of the electoral process.” Id. ¶ 109. But they recycle the same two

  cases from the initial Complaint for this proposition. Neither helps their cause. The

  first, Duncan v. Poythress, 657 F.2d 691, 703-04 (5th Cir. 1981), held that public officials

  violated an electorate’s substantive due process rights when they appointed an official

  to fill a public office where state law required an election. But nowhere does the Fifth
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  Circuit say that suspension of a state elected official that is arguably authorized by state

  law violates the substantive due process rights of those who voted for the official.

  Obviously, it does not offend the U.S. Constitution for states to authorize suspending

  and removing state elected officials for neglect of duty and other misconduct or

  incapacity. 3 The second case, Bell v. Southwell, 376 F.2d 659 (5th Cir. 1967), addresses

  racial discrimination without even discussing substantive due process.

         Plaintiffs also cite Gamza v. Aguirre, 619 F.2d 449, 453 (5th Cir. 1980), because

  it allegedly “provide[s] guidance as to whether an election related injury undermines

  the fundamental fairness and integrity of the electoral process.” Am. Compl. ¶ 110.

  But that case is similarly not relevant. There, a school board candidate brought a §

  1983 suit alleging that the board violated his equal protection rights by miscounting

  the votes and improperly declaring his opponent the winner. Not only did the plaintiff

  not allege a substantive due process violation, but the Fifth Circuit found no equal

  protection violation.

         Moreover, as discussed, for the Governor’s suspension of Ms. Worrell to violate

  their substantive due process rights, Plaintiffs would have to possess a fundamental

  right to see their chosen candidate remain in office once elected. But Plaintiffs still

  cannot cite a single case for this proposition. In fact, both the Northern District of

  Florida and the Eleventh Circuit have recently held that Duncan does not recognize a

  substantive due process right for public officials to remain in office, much less a right


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   To the extent Plaintiffs contend that the suspension violated state law, their claim is barred
  by the state’s sovereign immunity, as discussed in Part II.
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  for their voters to see their preferred candidate stay in office. In McGraw v. Banko,

  Governor DeSantis declared a vacancy in a county school board seat because the

  official was ineligible. Case No. 1:21-cv-163, 2022 WL 19333345 (N.D. Fla. August

  12, 2022), aff’d, 2023 WL 7039511 (11th Cir. 2023). The plaintiff there invoked Duncan

  to claim that the Governor’s executive order declaring her seat vacant violated her

  substantive due process rights. But the Northern District made clear that Duncan does

  not “speak[] to a substantive-due-process right of an official to remain in office after

  being elected,” 2022 WL 19333345 at *2, while the Eleventh Circuit held that Duncan

  “cannot prove the existence of a clearly established substantive due process right on

  which she may base her claim,” 2023 WL 7039511 at *2. Since Duncan does not give

  public officials a substantive due process right to remain in office once elected, it

  certainly does not give their voters the right to keep them in office. Because none of

  the cases Plaintiffs cite recognize this right, and they offer no other authority for the

  proposition, Plaintiffs fail to state a substantive due process claim.

     2. The First Amendment rights to freedom of association and free expression do
        not guarantee voters that their chosen candidate will remain in office once
        elected.

        Plaintiffs claim “Governor DeSantis abrogated Plaintiffs’ associational and

  expressional First Amendment rights when he abused the suspension authority

  accorded to him under Florida law.” Am. Compl. ¶ 129. Yet, they acknowledge that

  they “engaged in their right to associate with other like-minded voters and with their

  preferred candidate,” id. ¶ 127, and “engaged in both expressive conduct and core

  political speech,” id. ¶ 128, when they voted for Ms. Worrell. For both statements to
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  be true, the First Amendment rights of free association and free expression would have

  to go beyond protecting the act of voting to guarantee that a voter’s chosen candidate

  will remain in office.

            Plaintiffs do not cite a single case suggesting that the First Amendment goes this

  far. The closest they come is a case saying the First Amendment guarantees an

  “effective vote.” See Lyman v. Baker, 954 F.3d 351, 376 (1st Cir. 2020) (“[B]ecause

  voters express their preferences at the ballot box associational freedom necessarily

  includes ‘the right to cast an effective vote.’”) (citation omitted). But a single case from

  another circuit recognizing a nebulous and undefined right does not grant Plaintiffs

  the sweeping right(s) they assert. Indeed, case law demonstrates that the right does not

  exist. See, e.g., Kuhn v. Thompson, 304 F. Supp. 2d 1313, 1335 (M.D. Ala. 2004) (“[T]his

  Court cannot construe Plaintiffs’ rights to vote under the Voting Rights Act so broadly

  as to encompass a right to maintain Moore in public office or resist Moore’s removal

  from office.”). Thus, the Amended Complaint also fails to state a First Amendment

  claim.

IV.      Qualified Immunity Bars Plaintiffs’ Claims Against Governor DeSantis In His
         Individual Capacity.

            The Amended Complaint also seeks compensatory and punitive damages from

  Governor DeSantis in his individual capacity. Am. Compl. Prayer for Relief (c) and

  (d). But it cannot – indeed, does not even attempt to – overcome the Governor’s

      qualified immunity.




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        State officials acting within their discretionary authority enjoy qualified

  immunity from suits under § 1983 for money damages in their individual capacities.

  Smart v. England, 93 F.4th 1283, 1287-88 (11th Cir. 2024). To invoke qualified

  immunity, officials must establish “that he or she acted within the scope of [their]

  discretionary authority when the allegedly wrongful acts occurred.” Hardigree v. Lofton,

  992 F.3d 1216, 1223 (11th Cir. 2021) (quoting Sims v. Metropolitan Dade Cnty., 972 F.2d

  1230, 1236 (11th Cir. 1992)). If the official makes that showing, the burden shifts to

  the plaintiff to plead “facts showing (1) that the official violated a statutory or

  constitutional right, and (2) that the right was ‘clearly established’ at the time of the

  challenged conduct.” Ashcroft v. al-Kidd, 563 U.S. 731, 735 (2011).

        A. In suspending Ms. Worrell, the Governor plainly acted within his

  discretionary authority. An officer’s discretionary authority encompasses “all actions

  of [the] governmental official that (1) were undertaken pursuant to the performance of

  his duties, and (2) were within the scope of his authority.” Plowright v. Miami Dade

  Cnty., 102 F.4th 1358, 1363 (11th Cir. 2024) (quoting Jones v. Fransen, 857 F.3d 843,

  851 (11th Cir. 2017) (internal quotation marks omitted)). The Governor issued the

  Executive Order in his role as the State’s chief executive and pursuant to Article IV,

  section 7(a) of the Florida Constitution, which allows the governor to “suspend from

  office any state officer not subject to impeachment . . . for malfeasance, misfeasance,

  neglect of duty, drunkenness, incompetence, permanent inability to perform official

  duties, or commission of a felony.” See Executive Order. Indeed, Plaintiffs concede

  that the Governor issued the suspension “pursuant to Art. IV, § 7(a) of the Florida
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  [C]onstitution and acted under color of state law at the time of the suspension.” Am.

  Compl. ¶ 19.

        B. For reasons already explained in Part III, Plaintiffs have failed to allege a

  violation by Governor DeSantis of any constitutional right – much less a clearly

  established one. To determine whether a right was clearly established when the

  defendant officer acted, courts ask “whether the contours of the right were sufficiently

  clear that every reasonable officer would have understood that what he was doing

  violates that right.” Acosta v. Miami-Dade Cnty., 97 F.4th 1233, 1241 (11th Cir. 2024)

  (quoting Prosper v. Martin, 989 F.3d 1242, 1251 (11th Cir. 2021)). Plaintiffs “bear the

  burden of showing that the federal rights allegedly violated were clearly established.”

  Foy v. Holston, 94 F.3d 1528, 1532 (11th Cir. 1996) (citation omitted).

        Plaintiffs can demonstrate that a right was clearly established in one of three

  ways: “(1) case law with indistinguishable facts, (2) a broad statement of principle

  within the Constitution, statute, or case law, or (3) conduct so egregious that a

  constitutional right was clearly violated, even in the total absence of case law.” Crocker

  v. Beatty, 995 F.3d 1232, 1240 (11th Cir. 2021) (internal quotation marks omitted).

        As discussed in Part III, Plaintiffs do not – and cannot – identify a single case

  in the Supreme Court, the Eleventh Circuit, or the Supreme Court of Florida with

  “indistinguishable facts” establishing that the Governor suspending a state official

  pursuant to Article IV, section 7(a) of the Florida Constitution violates the officials’

  First or Fourteenth Amendment rights. This is especially true since it is an open


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  question in the Eleventh Circuit whether federal courts have the equitable authority to

  police state officials’ suspensions of inferior officers. See DE 49.

         Because no such case law exists, Plaintiffs “must establish that a general

  constitutional rule already identified in the decisional law . . . appl[ies] with obvious

  clarity” to the Governor’s Executive Order. Dukes v. Deaton, 852 F.3d 1035, 1043 (11th

  Cir. 2017) (quoting Hope, 536 U.S. at 741 (citations omitted)). Again, Plaintiffs point

  to no such rule – because none exists.

         Their last resort is to demonstrate that the Governor’s conduct was so egregious

  that “every objectively reasonable government official facing the circumstances would

  know that the official's conduct did violate federal law.” Coffin v. Brandau, 642 F.3d

  999, 1015 (11th Cir. 2011) (en banc) (quoting Vinyard v. Wilson, 311 F.3d 1340, 1351

  (11th Cir. 2002)). When “properly applied, [this exception] protects all but the plainly

  incompetent or those who knowingly violate the law.” Al–Kidd, 563 U.S. at 743

  (internal marks and citations omitted). Plaintiffs come nowhere near meeting this

  narrow exception. They offer no plausible allegations that the Governor is

  incompetent, knowingly violated the law, or acted so illegally that “every reasonable

  officer would understand that what he [did] [wa]s unlawful.” Charles v. Johnson, 18

  F.4th 686, 698 (11th Cir. 2021) (quoting District of Columbia v. Wesby, 583 U.S. 48, 63

  (2018) (internal quotation marks omitted)). Instead, by reciting examples of recent

  Florida governors suspending elected state officials, including those from other parties,

  Am. Compl. ¶¶ 99-101, they implicitly acknowledge that the Governor’s action was

  not clearly and flagrantly unlawful and was, at the very least, a reasonable application
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  of the law. Qualified immunity protects such actions. See Saucier v. Katz, 533 U.S. 194,

  205 (2001) (noting third exception allows “reasonable mistakes” about the law).

   V.    The Amended Complaint Does Not Sufficiently Plead A Claim For
         Punitive Damages.

         Last, the Amended Complaint seeks “punitive damages to all Plaintiffs to deter

  future unconstitutional action by the Defendant.” Am. Compl. Request for Relief at

  (c). Plaintiffs may recover punitive damages in § 1983 actions against government

  officials in their individual capacities. Young Apartments, Inc. v. Town of Jupiter, FL, 529

  F.3d 1027, 1047 (11th Cir. 2008). But only “when the defendant’s conduct is shown

  to be motivated by evil motive or intent, or when it involves reckless or callous

  indifference to the federally protected rights of others.” Smith v. Wade, 461 U.S. 30, 56

  (1983).

         The Amended Complaint does not allege a single fact plausibly demonstrating

  that Governor DeSantis was motivated by an “evil motive” or was “callously

  indifferent” to Plaintiffs’ rights. Instead, they cursorily allege that the Executive Order

  was an “intentional nullification of election results,” Am. Compl. ¶ 111, and that he

  “intended to negate the will of the electorate,” id. ¶ 114. But such baseless legal

  conclusions are not enough, even to defeat a motion to dismiss. Bell Atlantic Corp. v.

  Twombly, 550 U.S. 544, 555 (2007) (“[O]n a motion to dismiss, courts ‘are not bound

  to accept as true a legal conclusion couched as a factual allegation.’”) (quoting Papasan

  v. Allain, 478 U.S. 265, 286 (1986)). Thus, even if Plaintiffs could show that they have




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  standing, overcome sovereign and qualified immunity, and state a claim under the

  First or Fourteenth Amendments, they cannot not obtain punitive damages.

  VI.    This Court Should Dismiss The Amended Complaint With Prejudice.

         As demonstrated, the Amended Complaint has not cured any of the deficiencies

  the Court identified in its Order dismissing the initial Complaint. For this reason alone,

  the Court should dismiss it with prejudice. See, e.g., Cousins v. Sch. Bd. of Orange Cnty.,

  Fla., 687 F. Supp. 3d 1251, 1282 (M.D. Fla. 2023) (“[T]he Court is not required to

  permit amendment where the plaintiff has already been given an opportunity to cure

  the deficiencies and has failed to do so.”).

         In any event, the Court should dismiss with prejudice because future

  amendment would be futile. Crawford’s Auto Ctr., Inc. v. State Farm Mut. Auto. Ins. Co.,

  945 F.3d 1150, 1162–63 (11th Cir. 2019) (“[T]he District Court may properly deny

  leave to amend the complaint under Rule 15(a) when such amendment would be

  futile.”). No matter how Plaintiffs amend their complaint, they cannot (1) allege a

  legally cognizable injury from the suspension, (2) explain how their injuries are unique

  from the other 400,000 residents that voted for Ms. Worrell, (3) overcome sovereign

  immunity, or (4) state a claim under the First and Fourteenth Amendments.

                                      CONCLUSION

         For the foregoing reasons, the Amended Complaint should be dismissed with

  prejudice.




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  Dated July 26, 2024,                   RON DESANTIS
                                         Governor

                                         /s/ Nicholas J.P. Meros
                                         RYAN D. NEWMAN (Fla. Bar #1031451)
                                         General Counsel
                                         NICHOLAS J.P. MEROS (Fla. Bar #120270)
                                         Deputy General Counsel
                                         MEREDITH L. PARDO (Fla. Bar #1018871)
                                         Assistant General Counsel

                                         EXECUTIVE OFFICE OF THE GOVERNOR
                                         The Capitol, PL-5
                                         400 S. Monroe Street
                                         Tallahassee, FL 32399
                                         Phone: (850) 717-9310
                                         Ryan.Newman@eog.myflorida.com
                                         Nicholas.Meros@eog.myflorida.com
                                         Meredith.Pardo@eog.myflorida.com

                                         Counsel for Governor DeSantis


                            CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing was served

  via the CM/ECF filing portal, which provides notice to all parties, on July 26, 2024.



                                                /s/ Nicholas J.P. Meros
                                                Counsel for Governor DeSantis




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